Case 2:05-cr-20240-BBD Document 29 Filed 07/22/05 Page 1 of 2 Page|D 15

mo ev%.: s.c.

iN THE uNrTEo sTATEs oisTRlcT couRT
FoR THE wEsTERN oisTRicT oF TENNEs ,
wEsTERN o:vlsioN §§`EM 22 PH “' 05

 

W&H.-GS&B_
amc t . cg m
uNlTEo sTATEs oi= AMERch W/D%§`T:Sm;>iiis

Plaintiff

VS.
CR. NO. 05-20240-D

TRE|V|AINE G. W|E_BOURN,
ADA|V| MACKEY

Defendant.

 

ORDER ON CONT|NUANCE AND SPECIFY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on July 21l 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to November 7, 2005 with a

report date of Thursdag¢l October 27l 2005l at 9:00 a.m.. in Courtroom 3. ch F|oor of
the Federa| Bui|dingl Memphis, TN.

 

The period from Ju|y 21, 2005 through November 18, 2005 is excludable under 18
U.S.C. § 31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

|T lS SO ORDERED this 221 day of Ju|y, 2005.

RN|CE B. ONALD
UN|TED STATES D|STR|CT JUDGE

ilth iiiiii% % stem \.w, ¢F~-i-..;;iii’\ em _

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case 2:05-CR-20240 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

ENNESSEE

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Benard Weinman

LAW OFFICE OF BENARD WEINMAN
275 Jefferson Ave

Memphis7 TN 38103

FPD

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

J Patten Brown

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

